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Via ECF                                                                  Author’s Direct Dial No.
                                                                                  (424) 652-7814
February 10, 2021
                                                                         Author’s Email Address
                                                                     bklein@waymakerlaw.com
Honorable P. Kevin Castel
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

Re:    United States v. Virgil Griffith,
       20 Cr. 15 (PKC)

Dear Judge Castel:

       Defendant Virgil Griffith respectfully requests that certain of his pretrial release
conditions be modified. The defense has conferred with Pretrial Services and the government,
and both do not oppose the requested modifications.

       Mr. Griffith has been on pretrial release for over a year, and has been and remains in full
compliance with his pretrial release conditions. Since his release in early 2020, Mr. Griffith has
made both an in-person court appearance (traveling from Tuscaloosa, Alabama) and numerous
ones that were conducted telephonically due to the pandemic. As part of his pretrial release
conditions, Mr. Griffith is currently subject to regular drug testing, cannot use an e-reader like
the Kindle, and can only e-mail with his legal counsel. (Dkt. No. 15.)

       Mr. Griffith seeks the following modifications to those restrictions:

       1. Drug testing and treatment as directed by Pretrial Services is terminated.

       2. Mr. Griffith is allowed to use a Kindle (an Amazon e-reader that allows you to access
          books, magazines, newspapers and other content), with the condition that the Kindle
          be subject to inspection by Pretrial Services at their request.

       3. Mr. Griffith is allowed to e-mail with non-attorneys, with the following conditions:
          (a) he use a U.S.-based, unencrypted e-mail provider (like Gmail); (b) he identify any
          email account used for this purpose to Pretrial Services; (c) and his emails with non-
          attorneys be subject to inspection by Pretrial Services at their request. 1

1
 Mr. Griffith’s computer has and will continue to have monitoring software on it, per the
existing pretrial release conditions. (Dkt. No. 15.)
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      Mr. Griffith respectfully requests that the Court order the above modifications, which are
unopposed by both Pretrial Services and the government.

Respectfully submitted,


Brian E. Klein
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Waymaker LLP

-and-

Sean S. Buckley
Kobre & Kim LLP

Attorneys for Virgil Griffith




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